Case 4:23-cv-00165-AW-MAF Document 10 Filed 04/27/23 Page 1of1
Case 4:23-cv-00165-AW-MAF Document9 Filed 04/27/23 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:23-cv-165-AW-MAF

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) Gord Q ac bX , Secletady oe Stale
was received by me on (date) 4 | 22 }23 - ° ~

 

©) I personally served the summons on the individual at (place)

 

on (date) ; or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 served the summons on (name of individual) Son ftuk Vin Mor NS J Ase Ce Couns) who is

designated by law to accept service of process on behalf of (name of organization) Cork Bye! Secce keny

oF Sbekbe, on (date) 4/27/23 ; Or

© I returned the summons unexecuted because ; or

 

 

 

O Other (specifi):

My feesareS — for travel and $ \O. Oo for services, for a total of $ 10.00 .

I declare under penalty of perjury that this information is true.

Date: 21)%5 (BE

oe , .
Server's signature

Seseph Dye | (edisericking tntern

Printed name and title

Bro & Collese, Ave ; Suite LO? , Tallchessee FL,
Server's address 2 7 O \

Additional information regarding attempted service, etc:
